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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION


EARTHA McMILLER,                           )
                                           )
            Plaintiff,                     )
                                           )
      vs.                                  ) Case No. 4:13CV138 CDP
                                           )
COMMUNITY ACTION AGENCY                    )
OF ST. LOUIS COUNTY,                       )
                                           )
            Defendant.                     )

                          MEMORANDUM AND ORDER

      Pro se plaintiff Eartha McMiller has sued her former employer, Community

Action Agency of St. Louis County (CAASTLC), alleging violations of Title VII

of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. McMiller claims

CAASTLC discriminated against her because of her race and gender by, among

other things, failing to provide her with adequate training and terminating her

employment without notice. She also claims CAASTLC retaliated against her

after their attempted mediation of her discrimination allegations failed.

      This case is now before me on CAASTLC‟s motion to dismiss under Rule

12(b)(6), Fed. R. Civ. P., and what I will construe as McMiller‟s motion for

determination of the filing time period. I conclude that McMiller did not file her

lawsuit within 90 days of receiving her right-to-sue letter from the EEOC, so this

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action appears to be time-barred. In light of McMiller‟s pro se status, I will give

her an opportunity to explain why her untimely lawsuit should be allowed to

proceed before I dismiss this case.

I.       Background1

         McMiller, who is black, worked as an energy weatherization auditor for

CAASTLC from July 2010 to August 2011. After her employment was

terminated, McMiller filed two charges of discrimination with the Missouri

Commission on Human Rights related to her employment with CAASTLC.

         McMiller filed her first MCHR charge on September 29, 2011, shortly after

she was terminated. In that charge, McMiller alleged discrimination on the basis

of her race and gender. She claimed that, among other things, CAASTLC

provided her less training than white male employees; did not permit her to

perform final audits by herself, though it allowed male employees to do so; gave

her a poor evaluation for her field work though her work was the same as male

employees; and eventually terminated her employment without notice because she

is black. On the unsigned copy of the MCHR charge in the record, a box is

checked showing that it was also presented to the Equal Employment Opportunity

Commission. (See Pl.‟s Ex. 1, p. 6.)


1
  These facts are taken from McMiller‟s complaint, memorandum, and attached exhibits. See
Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007) (allegations in complaint are taken as
true at motion to dismiss stage).
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      In her second MCHR charge, filed on March 14, 2012, McMiller alleged

retaliation. She claimed that CAASTLC and its counsel retaliated against her by

withdrawing a payment to Laclede Gas they had made on her behalf after

mediation of her discrimination charge failed. According to a letter from the

MCHR to McMiller, the second charge was dually filed with both the MCHR and

the EEOC. (See Pl.‟s Ex. 1, p. 11.) After an investigation, the MCHR was unable

to conclude that there had been a violation of the Missouri Human Rights Act. On

September 13, 2012, the MCHR mailed McMiller a notice of her right to sue under

the Missouri Human Rights Act. (Id., p. 12.)

      The EEOC adopted the findings of the MCHR and notified McMiller that it

was closing its file on her charge of retaliation. On October 17, 2012, the EEOC

mailed McMiller a notice of her right to sue under Title VII. McMiller states that

she did not receive this notice until October 18 or 19, 2012. (Pl.‟s Ex. 1, p. 1.)

      On January 18, 2013, McMiller filed suit in this court, repeating her

allegations of race and gender discrimination and retaliation and incorporating into

her complaint the charges she filed with the MCHR and the EEOC.

II.   Discussion

      Before a plaintiff is allowed to proceed in federal court under Title VII, she

must exhaust her administrative remedies. 42 U.S.C. § 2000e-5(b), (c), (e). To

exhaust administrative remedies, the plaintiff “must timely file her charges with

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the EEOC and receive, from the EEOC, a „right to sue‟ letter.” Shannon v. Ford

Motor Co., 72 F.3d 678, 684 (8th Cir. 1996). Upon receipt of the right-to-sue letter

from the EEOC, the plaintiff has 90 days to file suit in court. See 42 U.S.C. §

2000e-5(f)(1) (“If a charge . . . is dismissed by the Commission, . . . the

Commission . . . shall so notify the person aggrieved and within ninety days after

the giving of such notice a civil action may be brought against the respondent

named in the charge . . . by the person claiming to be aggrieved . . .”); see also

Thomas v. KATV Channel 7, 692 F.2d 548, 550 (8th Cir. 1982) (“within ninety

days after the EEOC provides notice to „the person aggrieved‟ suit may be filed in

federal district court”).

       This statutory 90-day filing period generally “begins to run on the day the

right to sue letter is received” by the aggrieved person. Hill v. John Chezik

Imports, 869 F.2d 1122, 1124 (8th Cir. 1989); see also 29 C.F.R. § 1601.28(e)

(right-to-sue letter includes notice of the right to bring a civil action “within 90

days from receipt” of notice).

       Here, the EEOC right-to-sue letter was mailed on October 17, 2012. (See

Pl.‟s Ex. 1, p. 3.) McMiller states that she received the October right-to-sue letter

from the EEOC on either October 18, 2012 or October 19, 2012. (Id., p. 1.)

Assuming she received the letter on October 19, the 90-day time period concluded

on January 17, 2013. Because McMiller did not file suit until January 18, 2013,

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this action is time-barred. See Frazier v. Vilsack, 419 Fed. Appx. 686, 690 (8th

Cir. 2011) (affirming dismissal of Title VII lawsuit filed 91 days after receipt of

EEOC order that started the filing period); Maegdlin v. Int’l Ass’n of Machinists &

Aerospace Workers, Dist. 949, 309 F.3d 1051, 1054 (8th Cir. 2002) (affirming

dismissal of Title VII claims as untimely because they were filed more than 90

days after the issuance of the right-to-sue letter).

        It is unclear from the record whether the October 17, 2012 right-to-sue letter

from the EEOC related to McMiller‟s claims of race and gender discrimination, or

whether it related to her retaliation claim only.2 However, whether the right-to-sue

letter incorporated McMiller‟s gender and race discrimination claims makes no

difference to this fate of this district-court action. If the letter did incorporate those

claims, they are time-barred. If McMiller did not file those claims with the EEOC

or did not receive a right-to-sue letter, they are barred for failure to exhaust

administrative remedies.

                                    Equitable tolling

        The 90-day filing period is akin to a statute of limitations, not a

jurisdictional limit, and so may be subject to equitable tolling. Hill, 869 F.2d at

2
  For example, only the “retaliation” box is checked on the EEOC‟s notice of the charge to
CAASTLC, and only the retaliation claim was assigned an EEOC Charge Number on the MCHR
documents. (See Pl.‟s Ex. 1, pp. 4, 8.) However, an unsigned copy of the gender and race
discrimination charge McMiller filed with the MCHR shows that the charge was presented to the
EEOC. (Id., p. 6.)


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1123–24 (citing Zipes v. Trans World Airlines, Inc., 455 U.S. 385, 393 (1982)).

The 90-day filing period should generally not be tolled (that is, extended) except in

“circumstances which were truly beyond the control of the plaintiff.” Id. at 1124.

In other words, a plaintiff “who fails to act diligently cannot invoke equitable

principles to excuse that lack of diligence.” Baldwin Cnty. Welcome Cntr. v.

Brown, 466 U.S. 147, 151 (1984).

        Here, McMiller has given no reason that the 90-day filing period should be

extended. Indeed, the first paragraph of the EEOC right-to-sue letter begins with

the statement, “In order to pursue this matter further, you must file a lawsuit

against the respondent(s) named in the charge within 90 days of the date you

receive this Notice.” The letter continues: “in order to avoid any question that you

did not act in a timely manner, it is prudent that your suit be filed within 90 days

of the date this Notice was mailed to you.” (See Pl.‟s Ex. 1, p. 5.) (emphasis in

original). McMiller acknowledges that she received the letter on October 18 or 19,

2012, and her memorandum to the clerk makes clear that she read it.3 Though she

asks this court to determine whether she filed in time, she has not explained why

the filing period should be extended.




3
   In her memorandum, McMiller identifies what she considers to be a discrepancy between these
two statements. There is no inherent discrepancy: the law requires an aggrieved party to file suit
within 90 days of receiving the right-to-sue letter, but the EEOC advises an aggrieved party to
file suit within 90 days of the date the letter was mailed.
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       Because McMiller is acting pro se, I will give her the opportunity to explain

why her late filing of this lawsuit should be excused. She is warned that a “garden

variety claim of excusable neglect” is not a reason to toll a statute of limitations,

see Frazier, 419 Fed. Appx. at 689, and a failure to respond by the deadline will

result in dismissal without further notice. After I review the parties‟ briefs on the

issue of tolling, I will consider McMiller‟s motion for appointment of counsel.

III.   Conclusion

       Based on the foregoing,

       IT IS HEREBY ORDERED that plaintiff Eartha McMiller shall submit a

supplemental memorandum, along with any supporting evidence, explaining why

she filed this lawsuit after the 90-day filing period had expired. This supplemental

memorandum shall be filed no later than August 5, 2013. Any response brief and

supporting evidence defendant CAASTLC wants me to consider shall be filed no

later than August 12, 2013. The parties‟ briefs are limited to 5 pages each.




                                            CATHERINE D. PERRY
                                            UNITED STATES DISTRICT JUDGE

Dated this 25thth day of July, 2013.




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